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1           LAW OFFICES OF
           WING & PARISI
2    A PROFESSIONAL CORPORATION
          1101 E STREET
3     SACRAMENTO, CA 95814
                     441-4888
                State Bar #063214
4

5    ATTORNEYS FOR:           Defendant Martinson
6

7

8                                    IN THE UNITED STATES DISTRICT COURT

9                                   FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA                         No.   Cr. S-08-294 EJG

12                                     Plaintiff,     ORDER CONTINUING STATUS
           v.                                         HEARING FROM OCTOBER 2, 2009
13
                                                      AT 10:00 AM TO NOVEMBER 20, 2009
14
     ROBERT MARTINSON, ET. AL.                        EXCLUSION OF TIME 18 USC
15                  Defendants,                       §3161(h)(8)(B)(iv), Local Code T4

16

17
                                                    ORDER
18
19
            This matter having come on before me pursuant to the stipulation of the
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     parties and good cause appearing therefore,
21
            IT IS ORDERED THAT: the Hearing now set for October 2, 2009 at 10:00
22
     a.m., is vacated and the matter set for a status conference on, November 20, 2009,
23
     at 10:00 am.
24
            Further, the Court finds that the defendants' need for additional time to
25
     prepare exceeds the public interest in a trial within 70 days and, therefore, the
26
     interests of justice warrant a further exclusion of time until the hearing on October
27
     2, 2009. Based upon this finding and the representations of the parties, the Court
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     excludes time from October 2, 2009, pursuant to the Speedy Trial Act, 18 U.S.C. §
     ///
                                                       1
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              1   3161(h)(8)(B)(iv), Local Code T4 (time to allow sufficient time for counsel to
              2   prepare), until the next appearance on November 20, 2009 at 10:00 a.m. or by
              3   further order of this Court.
              4

              5

              6   Dated: September 30, 2009
              7                                         /s/ Edward J. Garcia
              8                                         SENIOR U.S. DISTRICT COURT JUDGE
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LAW OFFICES OF
WING & PARISI
SACRAMENTO, CA.   ///
                                                              2
